Case 2:21-cv-07208-AMD-AYS Document 42 Filed 11/09/22 Page 1 of 1 PageID #: 304

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                                                                                  November 9, 2022



    SIMULTAENOULY TRANSMITTED BY ECF TO CONSEL FOR DEFENDANTS


 By ECF
 Ann M. Donnelly
 United States District Judge
 United States District Court
 for the Eastern District of New York
 225 Cadman Plaza East,
 Brooklyn, New York 11201

        Re: Haller et. al. v. US Dept. of Health & Human Services et al., 2:21-CV-7208 (AMD)
         (AYS)

        To the Court:

         I am counsel for Plaintiffs in the above-captioned matter. On November 3, 2022, this
 Court issued its Decision and Order granting Plaintiff’s application for permission to file a late
 notice of appeal.

         I originally filed the application on October 31, 2022. On the same day, I erroneously -
 filed a notice of appeal. Thus, I prematurely uploaded a notice of appeal, prior to this Court’s
 Order issued November 3, 2022.

        The Order does not provide a deadline for filing the notice of appeal. I respectfully
 request the Court provide a deadline for proper filing of the notice of appeal.


 Thank you,



 Nick Wilder
